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                                              UNITED STATES BANKRUPTCY COURT
                                                DISTRICT OF MASSACHUSETTS
                                                      EASTERN DIVISION


      In Re:                                                                          §
                                                                                      §
      Andre Bisasor                                                                   §           Case No. 15-13369
                                                                                      §
                                                    Debtor                            §

                                                   TRUSTEE’S FINAL REPORT (TFR)

                 The undersigned trustee hereby makes this Final Report and states as follows:

             1. A petition under chapter of the United States Bankruptcy Code was filed on
       08/27/2015 . The case was converted to one under Chapter 7 on 01/06/2016 . The
      undersigned trustee was appointed on .

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

              3. All scheduled and known assets of the estate have been reduced to cash, released to
      the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
      pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
      disposition of all property of the estate is attached as Exhibit A.

                 4. The trustee realized gross receipts of                                             $               20,002.08

                                        Funds were disbursed in the following amounts:

                                        Payments made under an interim                                                          0.00
                                        disbursement
                                        Administrative expenses                                                             0.00
                                        Bank service fees                                                                 216.87
                                        Other payments to creditors                                                         0.00
                                        Non-estate funds paid to 3rd Parties                                                0.00
                                        Exemptions paid to the debtor                                                  12,725.00
                                        Other payments to the debtor                                                        0.00
                                                                                  1
                                        Leaving a balance on hand of                                   $                 7,060.21

____________________
           1
              The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.
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       The remaining funds are available for distribution.

             5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
      account.

              6. The deadline for filing non-governmental claims in this case was 11/28/2016 and the
      deadline for filing governmental claims was . All claims of each class which will receive a
      distribution have been examined and any objections to the allowance of claims have been
      resolved. If applicable, a claims analysis, explaining why payment on any claim is not being
      made, is attached as Exhibit C.

                 7. The Trustee’s proposed distribution is attached as Exhibit D.

             8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
      $ 1,477.71 . To the extent that additional interest is earned before case closing, the maximum
      compensation may increase.

             The trustee has received $ 0.00 as interim compensation and now requests a sum of
      $ 1,477.71 , for a total compensation of $ 1,477.71 2. In addition, the trustee received
      reimbursement for reasonable and necessary expenses in the amount of $ 0.00 , and now requests
      reimbursement for expenses of $ 112.08 , for total expenses of $ 112.08 2.

             Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
      foregoing report is true and correct.


      Date: 01/28/2019                                     By:/s/John J. Aquino, Trustee
                                                               Trustee



      STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
      exemption 5 C.F.R. § 1320.4(a)(2) applies.




____________________
           2
            If the estate is administratively insolvent, the dollar amounts reflected in this paragraph may be higher than the amounts listed in the
Trustee’s Proposed Distribution (Exhibit D).

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                                                                                           FORM 1
                                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                        ASSET CASES
                                                                                                                                                                                                        Exhibit A
Case No:              15-13369                         JNF            Judge:        Honorable Joan N. Feeney                     Trustee Name:                      John J. Aquino, Trustee
Case Name:            Andre Bisasor                                                                                              Date Filed (f) or Converted (c):   01/06/2016 (c)
                                                                                                                                 341(a) Meeting Date:               03/01/2016
For Period Ending:    01/28/2019                                                                                                 Claims Bar Date:                   11/28/2016


                                   1                                                2                           3                             4                          5                             6

                         Asset Description                                       Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                          Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                 Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                           Exemptions,                                                                               Assets
                                                                                                         and Other Costs)

  1. Misc. Household Goods, Furniture, Computer Equipment                                 1,000.00                        0.00                                                       0.00                        FA
     (Some U
  2. Normal & Ordinary Wearing Apparel                                                       500.00                       0.00                                                       0.00                        FA
  3. Watches, Costume Jewelry                                                                100.00                       0.00                                                       0.00                        FA
  4. Cash On Hand                                                                            100.00                       0.00                                                       0.00                        FA
  5. Bank Of America                                                                         294.00                       0.00                                                       0.00                        FA
  6. Owner Of 2 Llc And 2 Non-Profit Corps                                                     0.00                       0.00                                                       0.00                        FA
  7. Security Deposit Given To Greystar Management (For                                      183.81                       0.00                                                       0.00                        FA
     Landlord)
  8. Unregistered Trademark On "Covenant-Based Negotiation"                                    0.00                       0.00                                                       0.00                        FA
     And "
  9. Possible Restitution Of $180K Investment In "Madoff" Type Sc                              0.00                       0.00                                                       0.00                        FA
 10. Claims And Counterclaims;Too Speculative To Value: C.                                     0.00                       0.00               OA                                      0.00                        FA
     Bisaso
 11. A. Claims And Counterclaims Against Greystar, Deutsche                              20,000.00                   7,275.00                                                 20,002.08                          FA
     Bank
 12. Accounts Receivable                                                                 45,500.00                        0.00                                                       0.00                        FA
 13. Academic Text, Business & Spiritual Books                                            1,000.00                        0.00                                                       0.00                        FA
 14. Time Share at 104 Ka'anapali Shores Place, Lahaina, HI                                  100.00                       0.00                                                       0.00                        FA
     96761
INT. Post-Petition Interest Deposits (u)                                                 Unknown                          N/A                                                        0.00                  Unknown


                                                                                                                                                                                  Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                     $68,777.81                  $7,275.00                                                $20,002.08                        $0.00
                                                                                                                                                                                  (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


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Activities this period: All assets administered. Tasks remaining: Awaiting resolution of dispute between debtor and his counsel regarding fees. Mediator reported matter settled,
but no documentation has been submitted to court. Court has ordered a joint status report to be filed by debtor and his counsel by 11/2/18. Previous estimated TFR date was
7/31/18.
                                                                                                                                                                                    Exhibit A

RE PROP #             6   --   no value to estate
RE PROP #             7   --   no value to estate
RE PROP #             8   --   no value to estate
RE PROP #             9   --   debtor says no funds were his
RE PROP #            10   --   amended to add claims against Lance Learning Group; NHI, CHA, and Olint Olint TCI
                               and David Smith .. None have value to estate
RE PROP #            14   --   no liquidation value

Initial Projected Date of Final Report (TFR): 07/31/2018           Current Projected Date of Final Report (TFR): 06/30/2019




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                                                                                           FORM 2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-13369                                                                                             Trustee Name: John J. Aquino, Trustee                                     Exhibit B
      Case Name: Andre Bisasor                                                                                              Bank Name: Associated Bank
                                                                                                                   Account Number/CD#: XXXXXX5124
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX3708                                                                               Blanket Bond (per case limit): $0.00
For Period Ending: 01/28/2019                                                                              Separate Bond (if applicable):


       1                2                              3                                              4                                                     5                  6                     7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)     Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                           ($)
   08/31/17             11         Citizen's Bank                            Full settlement - Greystar                            1142-000                $20,002.08                               $20,002.08

   10/06/17                        Associated Bank                           Bank Service Fee under 11                             2600-000                                         $28.77          $19,973.31
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   10/06/17           1001         Andre Bisasor                             exemption                                             8100-002                                    $12,725.00             $7,248.31
                                   c/o Dimitri Lev, Esq.                     (d) (5)
                                   Law Offices of D. Lev, P.C.
                                   134 Main Street
                                   Watertown, MA 02472
   11/07/17                        Associated Bank                           Bank Service Fee under 11                             2600-000                                         $29.69            $7,218.62
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   12/07/17                        Associated Bank                           Bank Service Fee under 11                             2600-000                                         $22.59            $7,196.03
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   01/08/18                        Associated Bank                           Bank Service Fee under 11                             2600-000                                         $10.70            $7,185.33
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   02/07/18                        Associated Bank                           Bank Service Fee under 11                             2600-000                                         $10.68            $7,174.65
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   03/07/18                        Associated Bank                           Bank Service Fee under 11                             2600-000                                         $10.00            $7,164.65
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   04/06/18                        Associated Bank                           Bank Service Fee under 11                             2600-000                                         $10.65            $7,154.00
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   05/07/18                        Associated Bank                           Bank Service Fee under 11                             2600-000                                         $10.29            $7,143.71
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   06/07/18                        Associated Bank                           Bank Service Fee under 11                             2600-000                                         $10.62            $7,133.09
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   07/09/18                        Associated Bank                           Bank Service Fee under 11                             2600-000                                         $10.26            $7,122.83
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)


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                                                                                           FORM 2
                                                                       ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-13369                                                                                               Trustee Name: John J. Aquino, Trustee                                    Exhibit B
      Case Name: Andre Bisasor                                                                                               Bank Name: Associated Bank
                                                                                                                    Account Number/CD#: XXXXXX5124
                                                                                                                                            Checking
  Taxpayer ID No: XX-XXX3708                                                                               Blanket Bond (per case limit): $0.00
For Period Ending: 01/28/2019                                                                              Separate Bond (if applicable):


       1                2                              3                                              4                                                     5                   6                     7

Transaction Date    Check or                 Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                            ($)
   08/07/18                        Associated Bank                           Bank Service Fee under 11                              2600-000                                         $10.59            $7,112.24
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   09/10/18                        Associated Bank                           Bank Service Fee under 11                              2600-000                                         $10.57            $7,101.67
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   10/05/18                        Associated Bank                           Bank Service Fee under 11                              2600-000                                         $10.22            $7,091.45
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   11/07/18                        Associated Bank                           Bank Service Fee under 11                              2600-000                                         $10.54            $7,080.91
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   12/07/18                        Associated Bank                           Bank Service Fee under 11                              2600-000                                         $10.19            $7,070.72
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)
   01/08/19                        Associated Bank                           Bank Service Fee under 11                              2600-000                                         $10.51            $7,060.21
                                                                             U.S.C. § 330(a)(1)(B), 503(b)
                                                                             (1), and 507(a)(2)


                                                                                                              COLUMN TOTALS                                $20,002.08           $12,941.87
                                                                                                                    Less: Bank Transfers/CD's                    $0.00                $0.00
                                                                                                              Subtotal                                     $20,002.08           $12,941.87
                                                                                                                    Less: Payments to Debtors                    $0.00          $12,725.00
                                                                                                              Net                                          $20,002.08               $216.87




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                                                                                                                                                            Exhibit B
                                                                                      TOTAL OF ALL ACCOUNTS
                                                                                                                                       NET             ACCOUNT
                                                                                                    NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                            XXXXXX5124 - Checking                                        $20,002.08                $216.87              $7,060.21
                                                                                                         $20,002.08                $216.87              $7,060.21

                                                                                                   (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                           transfers)            to debtors)
                                            Total Allocation Receipts:                    $0.00
                                            Total Net Deposits:                       $20,002.08
                                            Total Gross Receipts:                     $20,002.08




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                                          TRUSTEE’S PROPOSED DISTRIBUTION

                                                                                                          Exhibit D

     Case No.: 15-13369
     Case Name: Andre Bisasor
     Trustee Name: John J. Aquino, Trustee
                         Balance on hand                                                $                7,060.21

               Claims of secured creditors will be paid as follows:


                                                             NONE


               Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                              Interim Payments Proposed
                         Reason/Applicant              Total Requested        to Date          Payment
       Trustee Fees: John J. Aquino                    $        1,477.71 $                  0.00 $         879.76
       Trustee Expenses: John J. Aquino                $          112.08 $                  0.00 $           66.73
       Attorney for Trustee Fees: ANDERSON
       AQUINO LLP                                      $       10,269.00 $                  0.00 $       6,113.72
                 Total to be paid for chapter 7 administrative expenses                 $                7,060.21
                 Remaining Balance                                                      $                     0.00


               Applications for prior chapter fees and administrative expenses have been filed as follows:

                                                                          Interim Payments
                         Reason/Applicant             Total Requested     to Date          Proposed Payment
       Other Prior Chapter Professional Fees:
       David G Baker                                  $         1,400.00 $                  0.00 $            0.00
                 Total to be paid for prior chapter administrative expenses             $                     0.00
                 Remaining Balance                                                      $                     0.00




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              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 7,726.53 must be paid in advance of any dividend to general (unsecured)
     creditors.

                 Allowed priority claims are:

                                                          Allowed Amount   Interim Payments Proposed
     Claim No.            Claimant                        of Claim         to Date          Payment
                          MASSACHUSETTS
                          DEPARTMENT OF
     2                    REVENUE                         $     7,726.53 $             0.00 $               0.00
                 Total to be paid to priority creditors                               $                     0.00
                 Remaining Balance                                                    $                     0.00


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 362,530.00 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                          Allowed Amount   Interim Payments Proposed
     Claim No.            Claimant                        of Claim         to Date          Payment
     1                    Cavalry Investments, Llc        $       799.06 $             0.00 $               0.00
     3                    Oral Roberts University         $     2,529.18 $             0.00 $               0.00
                          Portfolio Recovery
     4                    Associates, LLC                 $       322.13 $             0.00 $               0.00
                          Portfolio Recovery
     5                    Associates, LLC                 $       819.09 $             0.00 $               0.00
                          Midland Credit
                          Management Inc As Agent
     6                    For                     $             2,946.68 $             0.00 $               0.00
                          Midland Credit
                          Management Inc As Agent
     7                    For                     $             1,372.68 $             0.00 $               0.00




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                                                        Allowed Amount      Interim Payments Proposed
     Claim No.            Claimant                      of Claim            to Date          Payment
                          Midland Credit
                          Management Inc As Agent
     8                    For                     $              576.68 $              0.00 $               0.00
     9                    Nstar Electric              $        1,443.35 $              0.00 $               0.00
                          American Infosource Lp As
     10                   Agent For                 $            524.76 $              0.00 $               0.00
                          Navient Solutions, Inc. On
     11                   Behalf Of Dpt Of Ed        $       348,093.29 $              0.00 $               0.00
     12                   Capital One, N.A.           $        1,790.04 $              0.00 $               0.00
                          Portfolio Recovery
     13                   Associates, LLC             $        1,313.06 $              0.00 $               0.00
                 Total to be paid to timely general unsecured creditors               $                     0.00
                 Remaining Balance                                                    $                     0.00




             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent.

                 Tardily filed general (unsecured) claims are as follows:


                                                             NONE




            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent.

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:




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